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                                         October 27, 2020
VIA ECF

Hon. Kenneth M. Karas
United States District Court Judge
United States Courthouse
300 Quarropas St., Courtroom 521
White Plains, New York 10601
                 Re:     United States v. Aron Melber, No. 18 Cr. 614 (KMK)
Dear Judge Karas:

       We represent Defendant Aron Melber in the above-captioned matter. In accordance with
this Court’s Individual Rule of Practice for Sentencing Proceedings and Fed. R. Crim. P.
49.1(e)(1), we make this application to redact information from Mr. Melber’s sentencing
memorandum and exhibits addressing sensitive information related to Mr. Melber’s family
members. See Under Seal v. Under Seal, 273 F. Supp. 3d 460, 467 (S.D.N.Y. 2017) (“A party
may overcome the presumption of access by demonstrating that sealing will further other
substantial interests such as a third party’s personal privacy interests, the public safety, or
preservation of attorney-client privilege.”) (citing United States v. Aref, 533 F.3d 72, 83 (2d Cir.
2008). Unless the Court orders otherwise, we also are filing redacted versions by ECF of certain
portions of Mr. Melber’s sentencing submissions that include: (1) identification of minors; and (2)
home addresses of individuals. We make these redactions pursuant to Fed. R. Crim. P. 49.1(a)
and the Local ECF Rules for the Southern District of New York.

       We are simultaneously submitting to the Court unredacted electronic courtesy copies of all
the materials electronically filed with the Court. We are also providing unredacted copies of all
of Mr. Melber’s sentencing submissions to the government.

       We very much appreciate the Court’s consideration of this request.

                                      Respectfully Submitted,

                                      __/s/ Ilana Haramati____
                                      Henry E. Mazurek
                                      Ilana Haramati

                                      Counsel for Defendant Aron Melber
